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                       UNITED STATES DISTRICT COURT
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                      CENTRAL DISTRICT OF CALIFORNIA
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   11 GOOD SHEPHERD MINISTRIES            Case No. 5:23−cv−01694−SSS−AGR
      INTERNATIONAL
   12
           Plaintiff(s),                  CIVIL STANDING ORDER
   13
                       v.
   14
      JULY AND RIPPA LLC, et al.
   15      Defendant(s).
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   1    PLEASE READ THIS ORDER CAREFULLY. IT GOVERNS THE CASE

   2         AND DIFFERS IN SOME RESPECTS FROM THE LOCAL RULES.

   3          Plaintiff’s counsel shall serve this Order immediately on all parties and/or their

   4    attorney(s), including any new parties to the action. If this action came to the Court

   5    through noticed removal, Defendant’s counsel shall immediately serve this Order on

   6    all other parties.

   7          Both the Court and all counsel bear responsibility for the progress of litigation

   8    in this Court. The term “Counsel,” as used in this Order, includes parties

   9    appearing pro se.1 To secure the just, speedy, and inexpensive determination of

   10   every action, all counsel are ORDERED to familiarize themselves with the Federal

   11   Rules of Civil Procedure and the Local Rules of the Central District of California.

   12   Fed. R. Civ. P. 1.

   13         Unless the Court orders otherwise, the following rules shall apply.

   14   I.    General

   15         A.   Service of the Complaint

   16         The Plaintiff shall promptly serve the complaint in accordance with Federal

   17   Rule of Civil Procedure 4 and shall comply with Local Rule 5-3 with respect to all

   18   proofs of service.

   19         B.   Removed Actions

   20         Any answers filed in state court must be e-filed in this Court, either as an

   21   exhibit to the Notice of Removal or as a separate filing. Any pending motions must

   22   be re-noticed in accordance with Local Rule 6-1.

   23         C.   Assignment to a Magistrate Judge

   24         Under 28 U.S.C. § 636, the parties may consent to have a Magistrate Judge

   25
   26
        1 This Court does not exempt parties appearing pro se−that is, parties who are not

   27   represented by an attorney−from compliance with the Federal Rules of Civil
        Procedure or the Local Rules. See L.R. 1-3 and 83-2.2.3.
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   1    preside over the entire case, including trial, rather than just discovery. One benefit

   2    to giving such consent is that the parties almost always will be able to proceed to

   3    trial sooner than on a District Judge’s calendar. Additionally, the parties are free to

   4    select from among all Magistrate Judges available for this purpose and are not

   5    limited to the Magistrate Judge assigned to this case. The Magistrate Judges all

   6    have experience and expertise in a variety of areas, including patent and trademark

   7    litigation. If the parties agree to consent to proceed before a Magistrate Judge,

   8    the parties should consult the Central District’s website for the list of available

   9    Magistrate Judges and should submit the appropriate consent form.2

   10        D.     Telephonic and Video Appearances.

   11        The Court does not conduct telephonic hearings. Video hearings will be

   12   conducted as follows:

   13        •    Civil Matters: By default, all hearings, with the exception of hearings on

   14             motions in limine, final pretrial conferences, and trials, shall proceed

   15             remotely by video appearance on Zoom, unless a request is made by the

   16             parties to appear in person and this request is granted by the Court.

   17             Requests for an in-person appearance must be filed one (1) week before the

   18             hearing and must indicate that counsel has met and conferred with opposing

   19             counsel consistent with Local Rule 7-3. Hearings on Motions in Limine

   20             Final Pretrial Conferences, and Trials shall be heard in person.

   21        •    Criminal Matters: By default, all hearings shall proceed proceed

   22             in-person, unless a request is made by the parties to appear via video

   23             appearance and granted by the Court. Requests for a remote Zoom

   24             appearance must be filed one (1) week before the hearing and must

   25
   26
        2 The list of available Magistrate Judges and the consent form can be found

   27   https://www.cacd.uscourts.gov/judges-requirements/court-programs/
        voluntaryconsent-magistrate-judges.
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   1               indicate that counsel has met and conferred with opposing counsel

   2               consistent with Local Rule 7-3.

   3    II.   Filings

   4              A.   Electronic Filings and Proposed Orders

   5          Counsel shall file all civil and criminal filings pursuant to Federal Rules of

   6    Civil Procedure 5(d)(3) and Local Rule 5-4. Each party filing a motion, opposing a

   7    motion, or seeking the determination of any matter shall serve and electronically

   8    lodge a proposed order setting forth the relief or action sought and a brief statement

   9    of the rationale for the decision with appropriate citations. Counsel shall file items

   10   as follows:

   11         •    Non-Signature Items: shall be filed in PDF format.

   12         •    Proposed Signature Items: shall be filed as an attachment to the main

   13              document in PDF format. All proposed signature items shall also be

   14              emailed in Microsoft Word (“Word”) format to the chambers email

   15              at SSS_Chambers@cacd.uscourts.gov on the day the document is filed.

   16              Only proposed order signature items should be emailed to the

   17              chambers’ email address. Do not email other associated documents

   18              and do not use this email address for communication with the Court or

   19              the Clerk.

   20         A template for proposed orders is available on Judge Sykes’ webpage at

   21   https://www.cacd.uscourts.gov/honorable-sunshine-s-sykes. The parties must use

   22   this template. Failure to submit a proposed order via email, in Word format may

   23   result in the Court striking the motion, application, or stipulation without

   24   consideration of the request on its merits.

   25         Note for Parties Who Do Not Have an Attorney: Pro se litigants−that is,

   26   parties who are not represented by an attorney−may submit documents for filing

   27   through the Court’s Electronic Document Submission System (“EDSS”) instead of

   28   mailing or bringing documents to the Clerk’s Office. Only internet access and an


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   1    email address are required. Documents are submitted in PDF format through an

   2    online portal on the Court’s website. To access EDSS and for additional

   3    information, visit the Court’s website at https://apps.cacd.uscourts.gov/edss.

   4             B.   Mandatory Chambers Courtesy Copies

   5         All original filings are to be filed electronically pursuant to Local Rule 5.4.

   6    The Court requires one (1) Mandatory Chambers Copy of only the following

   7    filed documents:

   8         •    Civil Matters: motion(s) for preliminary approval of class action; motion(s)

   9              for final approval of class action; motion(s) for summary judgment

   10             (oppositions, reply, exhibits); motion(s) for preliminary injunction

   11             (oppositions, reply, exhibits).

   12        •    Criminal Matters: All motions and related documents and exhibits; plea

   13             agreement(s); sentencing memoranda; and objections to the pre-sentence

   14             reports.

   15        Chambers Copies shall be delivered to the “Courtesy Box” located outside of

   16   Courtroom 2 on the 2nd floor at the United States District Court, 3470 12th Street,

   17   Riverside, California 92501, no later than 5:00 p.m. on the first day following the

   18   filing. All Mandatory Chambers Copies shall comply with the document formatting

   19   requirements of Local Rule 11-3, except for the blue-backing requirement of

   20   Local Rule 11-4.1, which is hereby waived. If the filing party and its counsel fail

   21   to deliver a Mandatory Chambers Copy in full compliance with this Order and

   22   Local Rule 11-3, the Court may, on its own motion, reschedule any related hearing

   23   and impose sanctions. Pro se parties are exempt from this requirement.

   24   III. Requests

   25            A.   Ex Parte Applications

   26        Counsel are reminded that ex parte applications are solely for extraordinary

   27   relief. Applications that do not meet the requirements set forth in Local Rule 7-19

   28   will not be considered. Sanctions may be imposed for misuse of ex parte


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   1    applications. The Court considers ex parte applications on the papers and typically

   2    does not set the matters for hearing.

   3          B.   Continuances

   4         Counsel requesting a continuance must lodge, prior to the date to be continued,

   5    a proposed stipulation and order including a detailed declaration of the ground for

   6    the requested continuance or extension of time. The Court grants continuances only

   7    upon a showing of good cause, focusing on the diligence of the party seeking the

   8    continuance and any prejudice that may result if the continuance is denied. Counsel

   9    are required to first meet and confer with opposing counsel regarding the substance

   10   of the continuance and include a statement of compliance with Local Rule 7-3 (see

   11   supra V.II.A). Failure to meet and confer in good faith in compliance with the

   12   Local Rules and this Order may result in denial of the request for continuance.

   13         C.   Stipulations to Amend

   14        Parties filing an amended pleading pursuant to Federal Rule of Civil

   15   Procedure 15(a)(2) shall file the stipulation to amend the pleading with a separately

   16   attached proposed amended pleading and proposed order. The parties’ proposed

   17   order should address any hearing affected by the filing of the amended pleading.

   18         D.   Communications with Chambers

   19        Counsel must not attempt to contact the Court or chambers staff by email,

   20   telephone, or by any other ex parte means. Counsel may, for appropriate matters

   21   only, contact the CRD via the Chambers’ email at

   22   SSS_Chambers@cacd.uscourts.gov. Counsel must not contact the CRD regarding

   23   the status of any matter before the Court. Calls or emails regarding the status of

   24   submitted motions, stipulations, or proposed orders will not be returned. Counsel

   25   may determine the status of any submitted motion, stipulation, or proposed order by

   26   accessing the docket sheet through PACER, which can be accessed via the Central

   27   District of California’s website. Counsel must include on all papers their email

   28   address, telephone number, and fax number to facilitate communication with the


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   1    CRD.

   2    IV.       Courtroom Procedures

   3              A.   Invitation to Self-Identify Pronouns and Honorifics

   4          Litigants and counsel may indicate their pronouns and honorifics by filing a

   5    letter, adding the information in the name block or signature line of the pleadings,

   6    or verbally informing the Court when making an appearance.

   7              B.   Courtroom Decorum

   8          The Court expects everyone in the courtroom to treat each other with dignity

   9    and respect. Therefore, at a minimum, the Court expects the following3:

   10         •    Being punctual and prepared for all court appearances.

   11         •    Speaking and writing civilly and respectfully in all communications

   12              involving the Court. This includes:

   13                  Referring to and addressing witnesses, counsel, parties, and court

   14                  personnel by their surnames, pronouns, and honorifics, unless leave

   15                  to do otherwise is granted.

   16                  Refraining from interrupting any other person in the courtroom when

   17                  someone else is speaking. The same courtesy will be returned for every

   18                  person.

   19                  Refraining from making gestures, facial expressions, or audible

   20                  comments as manifestations of approval or disapproval of testimony

   21                  or argument.

   22         •    Being considerate of the time constraints and pressures on the Court and

   23              court staff inherent in their efforts to administer justice.

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        3 For more detailed guidance, counsel are advised to refer to the Central District of

   26   California’s Civility and Professionalism Guidelines, which can be found at
        http://www.cacd.uscourts.gov/attorneys/admissions/civility-and-
   27   professionalism-guidelines.
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   1         •     Acting and speaking civilly to court marshals, court clerks, court reporters,

   2               secretaries, and law clerks with an awareness that they, too, are an integral

   3               part of the judicial system.

   4             C.   Guidance for Pro Se Litigants

   5         Parties who represent themselves in civil litigation (i.e., appear pro se), should

   6    be aware that the Court holds these parties to the same standards of conduct to

   7    which it holds attorneys.

   8         The following links may be helpful to those representing themselves in civil

   9    matters:

   10        •     General information on how parties may represent themselves in civil cases

   11              in the Central District of California can be found at

   12              https://prose.cacd.uscourts.gov.

   13        •     Local Civil Rules for the Central District of California can be found at

   14              http://www.cacd.uscourts.gov/court-procedures/local-rules.

   15        •     Federal Rules of Civil Procedure can be found at

   16              https://www.law.cornell.edu/rules/frcp.

   17            D.   Presence of Lead Counsel

   18        Lead trial counsel shall attend any proceeding before this Court, including all

   19   Scheduling, Pretrial, and Settlement Conferences. Failure of lead counsel to appear

   20   for those proceedings is a basis for sanctions.

   21        The Court has a strong commitment to fostering the development of new and

   22   diverse lawyers in the legal community. Consequently, the Court strongly

   23   encourages litigants to provide opportunities for less experienced lawyers or

   24   lawyers whose identities and/or backgrounds further the diversity of the legal

   25   profession to conduct hearings before the Court, particularly where they

   26   contributed significantly to the underlying motion or prepared the witness.

   27   Of course, the ultimate decision of who speaks on behalf of the client is for the

   28   client and not the Court.


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   1          E.   Interpreter Services

   2         Counsel in civil actions are responsible for arranging for the services of an

   3    interpreter. The Interpreter’s Office may be reached at (213) 894-4599.

   4    V.   Scheduling

   5          A.   Scheduling Conference and Rule 26(f) Meeting of Counsel

   6         The Court hears scheduling conferences on Fridays, beginning at 1:00 p.m.

   7    Pursuant to Federal Rules of Civil Procedure 16(b) and 26(f), the Court will issue

   8    an Order Setting a Scheduling Conference.

   9         Counsel shall meet no later than three (3) weeks prior to the Scheduling

   10   Conference. This meeting may occur telephonically and need not occur in person.

   11   A written exchange of correspondence will not satisfy this requirement.

   12        Unless otherwise ordered, no later than two (2) weeks before the Scheduling

   13   Conference, the parties shall file a Joint Rule 26(f) Report. A Joint Rule 26(f)

   14   Report which is not timely filed or does not conform with this Order, Federal Rule

   15   of Civil Procedure 26(f), and applicable Local Rules will interfere with preparation

   16   by the Court and its staff and may result in the assessment of sanctions. The Joint

   17   Rule 26(f) Report shall address the matters set forth in Federal Rule of Civil

   18   Procedure 26(f), as well as those enumerated in the Court’s Order Setting

   19   Scheduling Conference.

   20         B.   Settlement Conference/ Alternative Dispute Resolution (“ADR”)

   21        As stated in Local Rule 16-15, the parties in every action must participate in a

   22   Settlement Conference or Alternative Dispute Resolution (ADR) procedure. The

   23   Court will not hold a Final Pretrial Conference or convene a trial unless and until

   24   all parties, including the principals of all corporate parties, have completed ADR.

   25        This Court participates in the court-directed ADR Program whereby the Court

   26   refers the parties to the Magistrate Judge, the court Mediation Panel, or private

   27   mediation. See General Order 11-10, § 5.1. If a Notice to Parties of

   28   Court-Directed ADR Program (ADR-08) has been filed in an action, counsel


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    1    must furnish and discuss it with their clients in preparation for the Rule 26(f)

    2    conference. In their Joint Rule 26(f) Report, counsel should state their preferred

    3    ADR procedure. The Court will refer the action to a procedure at the initial

    4    scheduling conference. More information about the ADR Program, the Mediation

    5    Panel, and mediator profiles is available on the Central District of California’s

    6    website at https://www.cacd.uscourts.gov/attorneys/adr.

    7    VI.    Discovery

    8           A.    Compliance with Federal Rule of Civil Procedure 26(a)

    9          The parties should begin to propound discovery before the Scheduling

    10   Conference. The parties must comply fully with the letter and spirit of Federal Rule

    11   of Civil Procedure 26(a) and produce discovery promptly. At the Scheduling

    12   Conference, the Court will impose firm deadlines governing the completion of

    13   discovery.

    14          B.    Discovery Matters Referred to United States Magistrate Judge

    15         All discovery matters are hereby referred to the assigned Magistrate Judge,

    16   who will hear all discovery disputes. The assigned Magistrate Judge’s initials

    17   follow the Judge Sykes’ initials next to the action number. All discovery-related

    18   documents must include the words “DISCOVERY MATTER” in the caption to

    19   ensure proper routing. Counsel are directed to contact the Magistrate Judge’s

    20   CRD and must follow the Magistrate Judge’s procedures to schedule matters for

    21   hearing. These procedures are stated on each Magistrate Judge’s webpage. Unless

    22   the assigned Magistrate Judge explicitly waives the Mandatory Chambers Copy

    23   rule, Counsel shall deliver Mandatory Chambers Copies of discovery-related

    24   papers to the assigned Magistrate Judge. Parties are not to deliver courtesy copies

    25   of discovery documents to Judge Sykes’ chambers.

    26         In accordance with 28 U.S.C. § 636(b)(1)(A), the Magistrate Judge’s decision

    27   shall be final, and this Court will not reverse any order of the Magistrate Judge

    28   unless it has been shown that the Magistrate Judge’s order is clearly erroneous


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    1    and contrary to law. Any party may file and serve a motion for review and

    2    reconsideration before this Court. See Loca Rule 72-2. The moving party must

    3    file and serve the motion within two (2) weeks of service of a written ruling or

    4    an oral ruling that the Magistrate Judge states will not be followed by a written

    5    ruling. The motion must specify which portions of the ruling are clearly erroneous

    6    and contrary to law, and the claim must be supported by points and authorities.

    7    Counsel shall provide the Magistrate Judge with chambers copies of the moving

    8    papers and responses.

    9    VII. Motions − General Requirements

    10         A.   Meet and Confer Requirement

    11        Counsel should take note of Local Rule 7-3, which requires “counsel

    12   contemplating filing of any motion” to “first contact opposing counsel to discuss

    13   thoroughly, preferably in person, the substance of the contemplated motion and

    14   any potential resolution.” Counsel should discuss the issues sufficiently such

    15   that if a motion is still necessary, the briefing may be directed to those substantive

    16   issues requiring resolution by the Court. Counsel should resolve minor procedural

    17   or other non-substantive matters during the conference. The Court strongly

    18   encourages the parties to resolve issues during their meet and confer and, wherever

    19   possible, work to cure any agreed upon deficiencies by following the amendment

    20   procedures set out in Federal Rule of Civil Procedure 15. Consistent with the

    21   Ninth Circuit’s ruling in Lopez v. Smith, 203 F.3d 1122, 1130 (9th Cir. 2000)

    22   (en banc), in evaluating a motion to dismiss, this Court may grant an additional

    23   leave to amend where the Court determines that plaintiff is able to cure the

    24   deficiencies in the complaint. The notice of motion or other request must

    25   include a statement of compliance with the meet and confer requirements

    26   set out in Local Rule 7-3. The Court may strike or deny a motion or other

    27   relief if counsel fails to meet and confer in good faith. Consistent with Local

    28   Rule 7-3, the moving party’s Counsel is required to include the following


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    1    statement in their notice of motion: “This motion is made following the

    2    conference of counsel pursuant to L.R. 7-3 which took place on (date).”

    3    In addition to the previous statement, this Court requires Counsel to include:

    4    (1) the names of the counselor’s present at the conference, (2) when the

    5    conference was held, (3) how long the conference lasted, (4) the manner in

    6    which the conference was held, (5) what issues were discussed, and (6) what

    7    issues the parties were unable to resolve. The parties are further advised that

    8    email correspondence alone is insufficient to satisfy this requirement.

    9           B. Under Seal Filings

    10         Local Rule 79-5 governs applications to file documents under seal. Local

    11   Rule 79-5.2.2 explains how to apply to file under seal and how to proceed if

    12   leave is granted. Parties must comply with all provisions of Local Rule 79-5.

    13         There is a strong presumption of access to judicial records in civil actions.

    14   Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1096 (9th Cir. 2016)

    15   (citing Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1135 (9th Cir.

    16   2003)).

    17         For each document or other type of information a party seeks to file under

    18   seal, the party must identify the factual and/or legal justification that establishes

    19   “good cause” or “compelling reasons” for the information to be protected.

    20   Kamakana v. City and Cnty. of Honolulu, 447 F.3d 1172, 1178-80 (9th Cir. 2006).

    21         The “compelling reasons” standard applies when either the document itself

    22   or the motion to which the document is attached is more than tangentially related

    23   to the merits of the case or when the documents. Ctr. for Auto Safety, 809 F.3d

    24   at 1096−97, 1099, 1101. When the document is attached to a motion that is

    25   unrelated or only tangentially related to the merits of the case, “a party need only

    26   satisfy the less exacting 'good cause’ standard.” Id. at 1097 (citing Foltz, 331

    27   F.3d at 1135).

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    1         Documents that are not confidential or privileged in their entirety should not

    2    be filed under seal if the confidential portions can be redacted and filed separately

    3    with a reasonable amount of effort. The parties should file a complete version of

    4    the documents under seal and a redacted version for public viewing, omitting

    5    only the portions that the Court has authorized to be filed under seal.

    6         Sealing must be justified for each individual item−blanket claims of

    7    confidentiality will result in the application to seal being denied. Counsel are

    8    strongly encouraged to consider carefully whether sealing or redaction is

    9    absolutely required for a given piece of evidence or argument. An application

    10   to seal that includes meritless requests to seal or redact documents will be denied.

    11   The parties also must meet and confer before filing an application to seal.

    12         C.   Filing and Hearing Motions

    13        Motions shall be filed in accordance with Local Rule 7. This Court hears civil

    14   motions on Fridays, beginning at 2:00 pm. If Friday is a national holiday,

    15   motions will be heard on the next Friday. It is not necessary to clear a hearing date

    16   with Judge Sykes’ CRD before filing a motion, except for motions for summary

    17   judgment, preliminary injunction, and motions for class certification. For

    18   these three motions, contact the CRD via the Court’s chambers email address at

    19   SSS_Chambers@cacd.uscourts.gov to reserve a hearing date. For all motions, if

    20   the hearing date selected is not available, the Court will issue a minute order

    21   continuing the date. Closed motion dates can be found on Judge Sykes’

    22   Procedures and Schedules webpage.

    23         D.   Length and Format of Motion Papers

    24        Pursuant to Local Rule 11-6, Memoranda of Points and Authorities in support

    25   of or in opposition to motions, absent leave of Court, shall not exceed 7,000 words

    26   including headings, footnotes, and quotations, but excluding the caption, the table

    27   of contents, the table of authorities, the signature block, the certification required

    28   by Local Rule 11−6.2, and any indices and exhibits. Replies shall not exceed ten


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    1    (10) pages. Only in rare instances and for good cause shown will the Court

    2    grant an application to extend these page limitations. Pursuant to Local Rule

    3    11-8, all Memoranda of Points and Authorities exceeding ten (10) pages

    4    must be accompanied by a Table of Authorities and a Table of Contents.

    5    All briefing must use Times New Roman font. Text must be no less than

    6    fourteen (14) point font; footnotes shall be no less than twelve (12)

    7    point font.

    8         Counsel shall adhere to Local Rule 5-4.3 with respect to the conversion of

    9    all documents to .pdf format so that when a document is electronically filed, it is

    10   in proper size and is .pdf searchable. Further, all documents shall be filed in a

    11   format so that text can be selected, copied, and pasted directly from the document.

    12   See Local Rule 5-4.3.1.

    13         E.      Voluminous Materials

    14        If documentary evidence in support of or in opposition to a motion exceeds

    15   50 pages, the evidence must be separately bound and tabbed and include an

    16   index. If such evidence exceeds 200 pages, the documents shall be placed in a

    17   three-ring binder, with an index and with each item of evidence separated by a

    18   tab divider.

    19         F.      Citations to Case Law

    20        Citations to case law must identify the case cited and the specific page

    21   referenced. For example, if a quotation is presented, the associated page citation

    22   shall be provided. Similarly, if a case is cited in support of a proposition based on

    23   language in the opinion, the page on which such language appears shall be

    24   provided. When citing to legal databases, wherever possible cite to Westlaw

    25   rather than Lexis. Bluebook style is required.

    26         G. Citations to Other Sources

    27        Statutory references must identify with specificity the sections and

    28   subsections referenced. Citations to treatises, manuals, and other materials should


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    1    include the volume, section, and pages being referenced. Citations to prior filings

    2    in the same action shall include the docket entry number, section, and pages

    3    referenced. Bluebook style is required.

    4          H. Matters Under Submission

    5         If the Court deems a matter appropriate for decision without oral argument,

    6    the Court will take the matter under submission and notify the parties before the

    7    hearing.

    8    VIII. Motions − Specific Requirements

    9          A.   Motions Pursuant to Federal Rule of Civil Procedure 12

    10        Many motions to dismiss or strike can be avoided if the parties confer in

    11   good faith as required by Local Rule 7-3, especially for perceived defects in a

    12   complaint, answer, or counterclaim that can be corrected by amendment. See

    13   Polich v. Burlington Northern, Inc., 942 F.2d 1467, 1472 (9th Cir. 1991) (noting

    14   that where a motion to dismiss is granted, a district court should grant leave to

    15   amend unless it is clear the complaint cannot be saved by amendment). Moreover,

    16   a party has the right to amend the complaint “once as a matter of course at any

    17   time before a responsive pleading is served.” Fed. R. Civ. P. 15(a). Even after a

    18   complaint has been amended or a responsive pleading has been served, the Federal

    19   Rules of Civil Procedure provide that leave to amend should be “freely given when

    20   justice so requires.” Fed. R. Civ. P. 15(a). Indeed, the Ninth Circuit requires that

    21   this policy favoring amendment be applied with “extreme liberality.” Morongo

    22   Band of Mission Indians v. Rose, 893 F.2d 1074, 1079 (9th Cir. 1990).

    23        Consequently, parties should carefully consider and weigh an opponent’s

    24   contentions as to the deficiencies in a pleading. The Court expects that, in most

    25   instances, the parties will agree to any amendment that would cure the defect.

    26         B.   Motions to Amend

    27        In addition to the requirements of Local Rule 15-1, all motions to amend

    28   pleadings shall: (1) state the effect of the amendment; (2) be serially numbered to


                                                   15
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    1    differentiate the amendment from previous amendments; and (3) identify the pages,

    2    line numbers, and wording of any proposed change or addition of material.

    3         Counsel shall file a “Notice of Lodging” attaching the proposed amended

    4    pleading as a document separate from the motion, as well as a “redlined”

    5    version of the proposed amended pleading identifying all additions and deletions

    6    of material as an appendix to the moving papers. An additional copy of the

    7    redlined pleading shall be provided to Chambers by email at

    8    SSS_Chambers@cacd.uscourts.gov on the same day that the amended pleading

    9    is filed electronically. This paragraph applies equally to complaints, answers,

    10   cross-complaints, supplemental pleadings, and amendments made as a matter of

    11   right pursuant to Federal Rule of Civil Procedure 15(a)(1). Absent a showing of

    12   good cause, failure to comply with this paragraph will result in the Court striking

    13   the amended pleading.

    14         C.   Motions for Default Judgment

    15          Motions for Default Judgment wherein some, but not all, of the named

    16   defendants are alleged to have defaulted must be noticed for the same

    17   hearing date as the Parties’ Final Pretrial Conference and filed in

    18   accordance with the motion requirements described in the Local Rules.

    19   L.R. 7-3, 7-9, 7-10.

    20         D.   Motions in Limine

    21         Motions in limine shall be scheduled for hearing one (1) week before the

    22   Final Pretrial Conference date.

    23         E.   Motions for Class Certification

    24         If this action is a putative class action, the parties are to act diligently and

    25   begin pre-certification discovery immediately, so that the motion for class

    26   certification can be filed expeditiously. All merits discovery is hereby stayed

    27   until further order of the Court. This Court requires an extended briefing

    28   schedule for motions for class certification as set forth below:


                                                  16
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    1         •    Motions for Class Certification: Must be filed at least seven (7) weeks

    2              before the hearing date.

    3         •    Opposition: Must be filed at least five (5) weeks before the hearing date.

    4         •    Reply: Must be filed at least four (4) weeks before the hearing date.

    5              The above briefing schedule is the default. The parties may stipulate to a

    6    modified schedule that is reasonable for all parties. Any briefing schedule must

    7    provide the Court at least four (4) weeks between the reply deadline and the

    8    hearing date.

    9             F.   Summary Judgment Motions

    10        No party may file more than one (1) motion pursuant to Federal Rule of Civil

    11   Procedure 56, regardless of whether such motion is denominated a motion for

    12   summary judgment or summary adjudication, without leave of the Court. The

    13   parties shall not attempt to evade the page limitations for briefs by filing multiple

    14   motions. If a party believes this is one of the rare instances in which good cause

    15   exists for more than one motion for summary judgment or to increase page limits,

    16   the party shall seek leave by noticed motion setting forth a detailed showing of

    17   good cause. Pursuant to Federal Rule of Civil Procedure 56(f), when appropriate,

    18   based on undisputed facts and controlling principles of law, the Court may sua

    19   sponte enter summary judgment in favor of the non-moving party.

    20        The Court will not entertain cross-motions that seek to adjudicate the same

    21   legal issues. If parties wish to cross-move for summary judgment, their counsel

    22   shall meet and confer to determine which party will move and which will oppose

    23   the one motion for summary judgment.

    24        Parties need not wait until the motion cutoff date to bring motions for

    25   summary judgment or partial summary judgment. The hearing on any such motion

    26   shall be set for a date in advance of the Final Pretrial Conference. This Court

    27   requires an extended briefing schedule for motions for summary judgment, as set

    28   forth below:


                                                  17
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    1         •   Motions for Summary Judgment: Must be filed at least seven (7) weeks

    2             before the hearing date.

    3         •   Opposition: Must be filed at least five (5) weeks before the hearing date.

    4         •   Reply: Must be filed at least four (4) weeks before the hearing date.

    5         The above briefing schedule is the default. The parties may stipulate

    6    to a modified schedule that is reasonable for all parties. Any briefing schedule

    7    must provide the Court at least four (4) weeks between the reply deadline and the

    8    hearing date.

    9         The parties should prepare papers in a fashion that will assist the Court in

    10   processing and analyzing the volume of material (e.g., tables of contents, headings,

    11   indices, bookmarks in electronic documents, pinpoint citations, etc.). The parties

    12   shall comply with Local Rules 56-1 and 56-2, in addition to the Court’s additional

    13   requirements described below.

    14            1.     Statement of Uncontroverted Facts and Genuine Disputes

    15        The separate statement of uncontroverted facts required under Local Rule

    16   56-1 shall be prepared in a two-column table, as shown below. The left column

    17   sets forth the allegedly undisputed fact. The right column sets forth the evidence

    18   that supports the factual statement. The factual statements should be set forth in

    19   sequentially numbered paragraphs. Each paragraph should contain a narrowly

    20   focused statement of fact. Each numbered paragraph should address a single

    21   subject as concisely as possible.

    22   Undisputed Fact                        Evidence
         1. Mike and Jane signed a contract for Smith Decl. (Dkt. No. 61-2) ¶ 5, Ex. 6.
    23   the sale and purchase of property.
    24   2. Jane mailed the contract in May
                                                Smith Decl. ¶ 8, Ex. 21.
         2017.
    25
    26        The “Conclusions of Law” portion of the statement should be inserted after the

    27   statement of uncontroverted facts. For example: “Plaintiff’s Claim for _____ Is

    28   Barred by the Applicable Statute of Limitations.”


                                                 18
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    1         The opposing party’s statement of genuine disputes of material fact must

    2    be in two columns and track the moving party’s separate statement exactly as

    3    prepared. The left column must restate the allegedly undisputed fact and the

    4    right column must state either that it is undisputed or disputed. The opposing

    5    party may dispute all or only a portion of the statement, but if disputing

    6    only a portion, it must clearly indicate what portion is being disputed, followed

    7    by a brief citation to the opposing party’s evidence controverting the fact. To

    8    demonstrate that a fact is disputed, the opposing party must briefly state why it

    9    disputes the moving party’s asserted fact, cite to the relevant exhibit or other

    10   evidence, and describe the reason(s) the exhibit or evidence refutes the asserted

    11   fact. No legal argument should be set forth in this document. For example:

    12
    13   Allegedly Undisputed Fact and                Disputed/Undisputed Fact and
         Evidence                                     Evidence
    14   1. Mike and Jane signed a contract for       Disputed. Jane testified that the
         the sale and purchase of property.           contract was for a lease, not a
    15   Smith Decl. (Dkt. No. 61-2) ¶ 5, Ex. 6.      purchase. Jane Depo
                                                      (Smith Decl. Ex. 4) 29:4-16.
    16
    17   2. Jane mailed the contract in May           Disputed as to date. Jane testified she
         2017. Smith Decl. ¶ 8, Ex. 21.               mailed the contract in June 2017.
    18                                                Jane Depo. at 3:4-10.

    19        The opposing party may submit additional material facts that bear on or

    20   relate to the issues raised by the moving party, which shall follow the format

    21   described above for the moving party’s separate statement. These additional

    22   facts shall continue in sequentially numbered paragraphs with the evidence that

    23   supports each statement set forth in the right column.

    24        With its reply, the moving party shall file a response to the statement of

    25   genuine disputes of material fact and additional material facts. For each fact,

    26   the response shall restate the allegedly undisputed fact and state whether the

    27   fact is disputed or undisputed by the opposing party. If the fact is undisputed,

    28   no further response is required.


                                                 19
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    1         If the fact is disputed, the response shall restate the opposing party’s evidence

    2    and reason for disputing the asserted fact. The moving party may provide a

    3    response to the opposing party’s reason for dispute, including any reason why

    4    the evidence cited by the opposing party does not create a genuine dispute and/or

    5    any additional evidence relevant to the asserted fact. This response may either be

    6    presented in three columns, with the response appearing in the right column, or in

    7    two columns, with a response provided below each fact.

    8         The response may also include any response to additional material facts

    9    asserted by the non-moving party, and this response shall follow the format

    10   described above for the statement of genuine disputes of material fact. The

    11   response to these additional facts shall continue in sequentially numbered

    12   paragraphs and shall not restart the numbering.

    13        All facts asserted by either party, whether disputed or undisputed, and all

    14   supporting evidence cited, shall be included in the response. Do not repeat

    15   descriptions of and citations to the evidence. If you have already described and

    16   cited the evidence once, simply refer to the earlier citation succinctly (e.g., “See

    17   supra, Fact #1.”).

    18           2.   Supporting Evidence

    19        No party shall submit evidence other than the specific items of evidence or

    20   testimony necessary to support or controvert a proposed statement of undisputed

    21   fact. For example, entire deposition transcripts, entire sets of interrogatory

    22   responses, and documents that do not specifically support or controvert material

    23   in the separate statement shall not be submitted in support of or in opposition to

    24   a motion for summary judgment.

    25        Evidence submitted in support of or in opposition to a motion for summary

    26   judgment should be submitted either by way of stipulation or as exhibits to

    27   declarations sufficient to authenticate the proffered evidence and should not be

    28   attached to the memorandum of points and authorities. Documentary evidence


                                                 20
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    1    for which there is no stipulation regarding foundation must be accompanied by

    2    the testimony, either by declaration or properly authenticated deposition transcript,

    3    of a witness who can establish authenticity.

    4             3.    Objections to Evidence

    5          If a party disputes a fact based in whole or in part on an evidentiary objection,

    6    the ground for the objection should be stated succinctly in a separate statement of

    7    evidentiary objections in a two-column format. The left column should identify the

    8    items objected to (including page and line number if applicable) and the right

    9    column should set forth a concise objection (e.g., hearsay, lack of foundation, etc.)

    10   with a citation to the Federal Rules of Evidence or, where applicable, a case

    11   citation. A proposed order shall be filed and attached to the evidentiary objections

    12   as a separate Word document consistent with Local Rule 52-4.1 and emailed

    13   directly to the Court’s chambers email address at

    14   SSS_Chambers@cacd.uscourts.gov.

    15   IX.    Other Matters

    16          A.     ERISA Cases (Benefits Claims)

    17         The Court will hear motions to determine the standard of review, whether

    18   discovery will be permitted, and the scope of the administrative record. Counsel

    19   are discouraged from filing motions for summary judgment or partial summary

    20   judgment on any other issue. If they choose to do so, they must distinguish

    21   Kearney v. Standard Insurance Co., 175 F.3d 1084, 1093-95 (9th Cir. 1999)

    22   (en banc) in the moving papers and explain why summary judgment is not

    23   precluded. The parties may receive an Order Setting a Scheduling Conference as

    24   a matter of course. Because the ordinary pretrial and trial schedule does not apply

    25   to these ERISA cases, the parties need only submit a Joint Status Report

    26   identifying any special issues that should be considered. The parties should proceed

    27   with the preparation of the administrative record and briefing without delay

    28   upon service of the complaint. A court trial, ordinarily limited to oral argument


                                                  21
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    1     on the administrative record, will be scheduled within six (6) months from the

    2     filing of the original complaint, unless good cause for additional time is shown

    3     in the status report. If the Court concludes that the decision would not benefit

    4     from oral argument, the matter may be submitted for decision on the paper.

    5              B.   Bankruptcy Appeals

    6          Counsel must comply with the Notice Regarding Appeal from Bankruptcy

    7     Court issued at the time the appeal is filed in the District Court. The matter is

    8     deemed under submission on the filing of the appellant’s reply brief. The Court

    9     considers bankruptcy appeals on the papers and usually does not set these matters

    10    for hearing.

    11    X.   Consequences for Non-Compliance

    12             If, without satisfactory explanation, counsel fail to file the required Joint Rule

    13    26(f) Report or the required pretrial documents, fail to appear at any scheduled

    14    proceeding, or otherwise fail to comply with the Court’s orders or rules, the Court

    15    shall take any action it deems appropriate, including:

    16         •     Where the failure occurs on the part of the plaintiff, dismissal of the case

    17              for failure to prosecute;

    18         •     Where the failure occurs on the part of the defendant, striking the answer

    19              resulting in default; and/or

    20         •     Imposing monetary sanctions against the offending party and counsel.

    21
    22    IT SO ORDERED.

    23
    24
         Dated: August 30, 2023
    25
    26                                                 ______________________________________
                                                       SUNSHINE S. SYKES
                                                       UNITED STATES DISTRICT JUDGE
    27
    28


                                                     22
